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lN THE uNITED sTATEs DlsTRlcT couRT F"'ED BY § r).c.~
FoR THE wEsTERN DlsTRlcT oF TENNESSEE 05
WEsTERN DlvlszoN AUG 3" h= ¢,3
uNlTED sTATEs oF AMERch * i
vs. * cR. No. 02-20165-0
RoBERT MuRRAY BoHN *

 

ORDER TO COMPEL TESTIMONY AND PRODUCE lNFORMATlON

 

On motion of the United States of America, by and through the United States
Attorney for the Western District of Tennessee and his duly authorized Assistant, Dan L.
Newsom;

lT SAT|SFACTOR|LY APPEAR|NG TO THE COURT:

1. That a subpoena has previously been duly served upon M|CHAEL E.
HANSON, commanding him to appear and testify before the District Court in the trial of the
above-referenced matter;

2. That the witness, M|CHAEL E. HANSON, has indicated through his cou nsel,
on or about August 23, 2005, that if he appears before the District Court, he will refuse to
testify by asserting his Fifth Amendment privilege against self-incrimination;

3. That in the judgment of the United States Attorney for the Western District
of Tennessee, the testimony or other information from the witness may be necessary to

the public interest; and

This document entered on the docket sheet in com l:ance
with Fiule 35 and/or 32(b} FFlCrP on l aj 05 @ [/

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4. That the aforesaid Motion filed herein has been made with the approval of
the Assistant Attorney Genera|, Criminal Division of the Department of Justice, pursuant
to the authority vested in him by 18 U.S.C. §6003(b) and 28 C.F.R. §0.175(3).

NOW THEREFORE, lT |S ORDERED pursuant to Title 18, United States Code,
Sections 6002 and 6003, that the witness, M|CHAEL E. HANSON, give testimony and
provide other information which he may refuse to give or to produce on the basis of his
privilege against self-incrimination as to all matters about which he may be interrogated at
the trial of this matter before the District Court,

|T IS FURTHER ORDERED that no testimony or other information compelled under
this Order, or any information directly or indirectly derived from such testimony or other
information, may be used against the witness in any criminal case, except a prosecution
for perjury, giving false statement, or othenivise failing to comply with the Order of this

Court.

ENTER TH|S 33 DAY OF AUGUST, 2005.

   

RN|CE B UlE DONALD
STATES DlSTR|CT JUDGE

 

UNITED STATES DlSTRIC= COURT- WESTERN DlSTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 611 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

